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JUL 30 2018

COLIN M. RUBICH _ v
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ATTORNEY FOR PLAINTIFF
UNITED STATES OF AMERICA

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA
BILLINGS DIVISION

 

UNITED STATES OF AMERICA, CR 18-99-BLG¢SPW

Plaintiff, ` AMENDED INFORMATION

vs, WIRE FRAUD

(Counts I-IV)

Title 18 U.S.C. § 1343

(Penalty: 20 years imprisonment, $250,000
fine, and three years supervised release)

APRIL DRAKE GREER,

Defendant.

 

 

COUNTS I-IV
That beginning in or about 2010, and continuing thereafter until on or about
June 7, 2017, at Red Lodge, in the State and District of Montana, and elsewhere,
the defendant, APRIL DRAKE GREER, devised a material scheme and artifice to

obtain money by false and fraudulent pretenses, representations, and promises, said

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scheme being more specifically described below, and thereafter to execute the
scheme and artifice so devised, transmitted and caused to be transmitted by Wire
communication in interstate commerce, certain signals, Writings and sounds.
THE ACH TRANSFER SCHEME

During the period of the scheme, APRIL DRAKE GREER Was employed as
the director of human resources and controller for Wildfire Defense Systems, Inc.,
a company owned and operated in Red Lodge. In this capacity, Greer Was
responsible for accounts receivable, accounts payable, bill payinent, human
resources management, and reconciliation of bank statements As part of her
duties, GREER regularly utilized the software program QuickBooks. Wildfire
Defense Systems, Inc. used QuickBooks for many of their accounting and payroll
functions Among other features, the QuickBooks software Was able to access a
bank account belonging Wildfire Defense Systems, Inc. and transfer money to
another account via an ACH electronic Wire. Used legitimately, this function
enabled Greer and other responsible employees to pay employees and other
subcontractors for their services.

As part of the scheme, GREER regularly used the QuickBooks Program to

transfer money from the Wildfire Defense Systems, Inc. account to her personal

checking account Without authorization To conceal the missing money GREER

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withdrew from her employer’s account, GREER improperly altered bank
statements when necessary. GREER also fraudulently coded the payments within
QuickBooks to make it appear that the payments were related to business expenses
OVer the course of approximately seven years, GREER stole approximately
$1,432,372.00 in embezzled funds from Wildfire Defense Systems, Inc.
INTERSTATE WIRING
COUNT I
On or about January 27, 2017, at Red Lodge, in the State and District of
Montana, the defendant, APRIL DRAKE GREER, for the purpose of executing the
scheme described above, did knowingly cause to be transmitted in interstate
commerce by means of wire communications an electronic transmission between
JP Morgan Chase Bank in New York, NY and First Interstate Bank in Montana,
which represented the transfer of $9,312.35 to First Interstate Bank account
number XX-XXXX-2362, all in violation of 18 U.S.C. § 1343.
COUNT II
On or about January 27, 2017, at Red Lodge, in the State and District of
Montana, the defendant, APRIL DRAKE GREER, for the purpose of executing the
scheme described above, did knowingly cause to be transmitted in interstate

commerce by means of wire communications an electronic transmission between

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JP Morgan Chase Bank in New York, NY and First Interstate Bank in Montana,
' which represented the transfer of $9,961.95 to the First Interstate Bank account
number XX-XXXX-2362, all in violation of 18 U.S.C. § 1343.
COUNT III
On or about February 14, 2017, at Red Lodge, in the State and District of
Montana, the defendant, APRIL DRAKE GREER, for the purpose of executing the
scheme described above, did knowingly cause to be transmitted in interstate
commerce by means of wire communications an electronic transmission between
JP Morgan Chase Bank in New York, NY and First Interstate Bank in Montana,
which represented the transfer of $9,710.62 to First Interstate Bank account
l number XX-XXXX-2362, all in Violation of 18 U.S.C. § 1343. t
COUNT IV
On or about February 14, 2017, at Red Lodge, in the State and District of
Montana, the defendant, APRIL DRAKE GREER, for the purpose of executing the
scheme described above, did knowingly cause to be transmitted in interstate
commerce by means of wire communications an electronic transmission between
JP Morgan Chase Bank in New York, NY and First Interstate Bank in Montana,
which represented the transfer of $8,680.95 to the First Interstate Bank account

number XX-XXXX-2362, all in violation of 18 U.S.C. § 1343.

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DATED this mde OfJuiy 2018.

KURT G. ALME
United States Attomey

CoLiN M. RUBICH
Assistant U.S. Attomey

KURT G. ALME
United States Attomey

 

 
    
 

. THAGGARD
`n Chief Assistant U.S. Attomey

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